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                      UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA


 ANDRE JOHNSON CIVIL ACTION

 VERSUS

 MARCUS JONES NO. 19-00896-BAJ-RLB


                              RULING AND ORDER

      Before the Court is Defendant Marcus Jones' Motion To Dismiss Pursuant

To Federal Rules Of Civil Procedure 12(b)(l) & 12(b)(6) (Doc. 38). The Motion

is unopposed. The Magistrate Judge has issued a Report And Recommendation

(Doc. 43) recommending that the Court grant Defendant's Motion to Dismiss,

dismissing Plaintiffs claims with prejudice. (Id. at p. 7). The Magistrate Judge

further recommends that the Court dismiss this action in its entirety. (Id.). There are

no objections to the Report and Recommendation.


      Having carefully considered the underlying Complaint, the instant Motion,

and related filings, the Court APPROVES the Magistrate Judge's Report and

Recommendation, and ADOPTS it as the Court's opinion herein.

      Accordingly,

      IT IS ORDERED that Defendant Marcus Jones' Motion To Dismiss

Pursuant To Federal Rules Of Civil Procedure 12(b)(l) & 12(b)(6) (Doc. 38)

is GRANTED.
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      IT IS FURTHER ORDERED that Plaintiffs claims be and are hereby

DISMISSED WITH PREJUDICE.

      IT IS FURTHER ORDERED that the above-captioned matter be and is

hereby DISMISSED in its entirety.




                                                        /^L
                          Baton Rouge, Louisiana, this _/_^_clay of October, 2021




                                    JUDGE BRIAN A^AQfcSON
                                    UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF LOUISIANA
